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                Exhibit 6
Devlin Barrett, Glenn Thrush, and Adam
Goldman, Under Pressure to Drop Charges,
Career Prosecutors Weighed Stark Options,
     New York Times, Feb. 14, 2025
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 Under Pressure to Drop Charges, Career
 Prosecutors Weighed Stark Options
 Lawyers in the Justice Department’s public integrity section came to believe that
 to save their jobs, one of them would have to sign the official request to dismiss
 corruption charges against Mayor Eric Adams.



 By Devlin Barrett, Glenn Thrush and Adam Goldman
 Reporting from Washington
 Feb. 14, 2025



 About two dozen lawyers in the Justice Department’s public integrity section
 conferred on Friday morning to wrestle with a demand from a Trump political
 appointee that many of them viewed as improper: One of them needed to sign the
 official request to dismiss corruption charges against Mayor Eric Adams.

 The acting deputy attorney general, Emil Bove III, told the shellshocked staff of the
 section responsible for prosecuting public corruption cases that he needed a
 signature on court motions. The lawyers knew that those who had already refused
 had resigned, and they could also be forced out.

 By Friday afternoon, a veteran prosecutor in the section, Ed Sullivan, agreed to
 submit the request in Manhattan federal court to shield his colleagues from being
 fired, or resigning en masse, according to three people briefed on the interaction,
 speaking on the condition of anonymity for fear of retribution.

 The filing landed in the court docket Friday evening, bearing the name of Mr.
 Sullivan and that of a criminal division supervisor as well as the signature of Mr.
 Bove.



https://www.nytimes.com/2025/02/14/us/politics/eric-adams-doj-lawyers.html                                                   1/3
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 Mr. Bove, the filing said, “concluded that dismissal is necessary because of
 appearances of impropriety and risks of interference with the 2025 elections in
 New York City.” The stated justification was remarkable because of its
 acknowledgment that politics, not the evidence in the case, had played a guiding
 role.


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 On Thursday, six lawyers — the Trump-appointed acting U.S. attorney for the
 Southern District of New York and five prosecutors in Washington — resigned
 rather than accede to Mr. Bove’s demands. On Friday, a seventh stepped down,
 writing in his resignation letter that only a “fool” or a “coward” would sign off on
 the dismissal.

 But those close to the public integrity section prosecutors described Mr. Sullivan’s
 decision to put his name on the document as heroic. The reason for someone to sign
 it is to protect others, said one of the people with knowledge of Friday’s call.

 Before being summoned for the tense meeting, lawyers in the section debated their
 bad options, but came to increasingly believe that someone should step forward to
 save the jobs of the others, people familiar with the discussions said.

 Mr. Bove, speaking on a video call, demanded that the court motions be signed
 within an hour, according to people later briefed on the conversation, leaving
 participants with the impression that they might face disciplinary action if no one
 complied.

 Lawyers in the section understand that the outcome is in many ways already
 determined: Judges have little discretion but to ultimately accept such a motion.
 Nevertheless, it appears increasingly likely that the trial judge may hold a hearing

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 to question department officials about the decision. Such a hearing could be
 difficult and embarrassing for the department’s new leaders.

 Part of the consideration for Justice Department lawyers is whether simply signing
 the document would mean risking their bar license, since major ethical objections
 have already been made to dropping the case.

 But in those private discussions, many of the lawyers believed it would be a worse
 outcome if all the section’s lawyers were fired or forced to resign over the Adams
 case.

 Current and former officials praised those who had already stepped down, saying
 they sacrificed their livelihoods and dream jobs because they were put in an
 impossible position — told to do something they considered immoral, illegal or
 unethical.

 Glenn Thrush covers the Department of Justice and has also written about gun violence, civil rights and
 conditions in the country’s jails and prisons. More about Glenn Thrush

 Adam Goldman writes about the F.B.I. and national security. He has been a journalist for more than two
 decades. More about Adam Goldman


 A version of this article appears in print on , Section A, Page 13 of the New York edition with the headline: Career Prosecutors Weighed
 Stark Options




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